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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES,

         v.
                                                              Criminal Action No. 21-509 (TSC)
 ANTHONY VO,

                 Defendant.


                                             ORDER

       For the reasons set forth during the hearing held on February 3, 2023, Defendant’s First

Motion to Dismiss, ECF No. 26, is DENIED; Defendant’s Second Motion to Dismiss, ECF No.

27, is DENIED; and Defendant’s Motion for Transfer of Venue, EF No. 28, is GRANTED in

part and DENIED in part. The court will not distribute a pre-trial questionnaire or engage in any

pre-screening questioning of prospective jurors, but the parties will be permitted to ask

reasonable follow-up questions to individual jurors during voir dire.



Date: February 3, 2023

                                                 Tanya S. Chutkan
                                                 TANYA S. CHUTKAN
                                                 United States District Judge




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